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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF FLORIDA

NICHOLAS FORD and
ALONZO HAWKINS,
                                                             CASE NO.: 3:24-cv-00404-MCR
                Plaintiffs,

v.

SOUTHERN ROAD & BRIDGE, LLC,

            Defendant.
__________________________________/

     PLAINTIFF NICHOLAS FORD’S RESPONSES TO DEFENDANT’S FIRST SET OF
               INTERROGATORIES TO PLAINTIFF NICHOLAS FORD

         Plaintiff, NICHOLAS FORD (“Plaintiff” and/or “Mr. Ford”), by and through his

undersigned counsel, and pursuant to Federal Rule of Civil Procedure 33, hereby serves the

following responses to Defendant, SOUTHERN ROAD & BRIDGE, LLC’s (“Defendant” and/or

“SRB”), First Set of Interrogatories to Plaintiff Nicholas Ford.


         Dated: Miami, Florida                       DEREK SMITH LAW GROUP, PLLC
                February 17, 2025,                   Counsel for Plaintiffs


                                                     /s/ Daniel J. Barroukh
                                                     Daniel J. Barroukh, Esq.
                                                     Florida Bar No. 1049271
                                                     Derek Smith Law Group, PLLC
                                                     520 Brickell Key Drive, Suite O-301
                                                     Miami, FL 33131
                                                     Tel: (305) 946-1884
                                                     Fax: (305) 503-6741
                                                     danielb@dereksmithlaw.com




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  SPECIFIC RESPONSES TO DEFENDANT’S FIRST SET OF INTERROGATORIES

INTERROGATORY NO. 1:
List the full names, titles, addresses, and telephone numbers of any persons who have provided
you with information or assistance in answering these Interrogatories.

       RESPONSE: Plaintiff answered these interrogatories with the assistance of counsel,
       Daniel J. Barroukh, Esq.


INTERROGATORY NO. 2:
Identify yourself fully, giving your full name, all former names (and when you were known by
those names), age, date and place of birth, residence addresses for the last ten (10) years (including
the dates you lived at each address), and your current business address.

       RESPONSE: Plaintiff objects to this interrogatory on the grounds that it is overbroad
       and seeks information not relevant to the claims or defenses of the parties. Plaintiff
       further objects to this interrogatory on the grounds that it is improperly compound
       in including multiple unrelated subparts. Notwithstanding these objections and
       without waiving them, Plaintiff has limited his response to his name, date and place
       of birth, age, and addresses concurrent with and subsequent to his employment with
       Defendant, and states as follows: Plaintiff’s full name is Nicholas Ford. Plaintiff does
       not have any former names. Plaintiff was born on                       in Fort Worth,
       Texas, and he is currently 35 years old. Between approximately February 2023 and
       approximately April 2023, Plaintiff’s address was
                              Between approximately April 2023 and approximately October
       2023, Plaintiff’s address was                                                   . As of
       approximately October 2023, Plaintiff’s address is



INTERROGATORY NO. 3:
List the name of any current spouse, if applicable, all former spouses, the date and place of each
marriage, date and place of each divorce, along with the state, county, and case number of any
divorce, separation, or related proceedings.

       RESPONSE: Plaintiff objects to this interrogatory on the grounds that it is overbroad
       and seeks information not relevant to the claims or defenses of the parties. Plaintiff
       further objects to this interrogatory on the grounds that it is improperly compound
       in including multiple unrelated subparts. Notwithstanding these objections and
       without waiving them, Plaintiff has limited his response to the name of his spouse and
       states as follows: Plaintiff is married to Victoria Denis.




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INTERROGATORY NO. 4:
Please list your educational background and all professional certifications providing the name and
address for each school, college, university, or other institution of learning or training which you
have attended, listing the dates of attendance, grades or levels completed, and degrees or
certificates received.

       RESPONSE: Plaintiff has graduated from junior high school. Plaintiff earned a
       certification in the field of stone and masonry from Treasure Lake Job Corps.
       Plaintiff has earned a certification from American Institute of Nondestructive Testing
       for completion of a course of study for 40 Hour Industrial Radiography Radiation
       Safety. Plaintiff holds a certification in OSHA Regulation Compliance from
       Innovalearn Online Academy. Plaintiff holds several certifications, issued by
       Hoodz/Belfor University online learning system, related to electrical safety and
       project management. As of January 31, 2025, Plaintiff is enrolled in James Madison
       High School in its HS Electrician Career Pathway program. For additional
       information, Plaintiff directs Defendant to the documents produced by Plaintiff in
       response to the Unnumbered Request immediately following Request No. 17 of
       Defendant’s First Requests for Production.


INTERROGATORY NO. 5:
Identify the names, addresses, phone numbers, rates of pay, positions held, immediate supervisor’s
name(s), and dates of employment, along with the reason(s) for termination of said employment,
for every employer with whom you were employed during the ten (10) year period prior to your
employment with Defendant.

       RESPONSE: Plaintiff objects to this interrogatory on the grounds that it is overbroad
       to the extent it seeks information unrelated to the Plaintiff’s efforts to mitigate and/or
       Plaintiff’s actual mitigation, and to the extent that it seeks information about
       Plaintiff’s employment prior to working for Defendant. Notwithstanding these
       objections and without waiving them, Plaintiff understands the non-objectionable
       portion of this interrogatory to seek the identification of his employers concurrent
       with and subsequent to his employment with Defendant, and states as follows:

           x   Employer Name: VII Restaurant
               Address: 6501 S Cooper St Ste 101, Arlington, TX 76001
               Supervisor’s Name: (FNU) (LNU)
               Dates of Employment: Approx. February 11, 2024 – Approx. March 1, 2024
               Position: Dishwasher
               Rate of Pay: $15.00 per hour
               Reason for Separation: Business Closure

           x   Employer Name: First Choice Landscaping
               Address: 101 W. 9 & Half Mile Rd, Pensacola, FL 32534
               Supervisor’s Name: Mark (LNU)



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               Dates of Employment: Approx. April 2024 - Approx. May 2024
               Position: Landscaper
               Rate of Pay: $18.00 per hour
               Reason for Separation: Resignation

           x   Employer Name: Hoodz
               Address: 2172 W. Nine Mile Rd. #180, Pensacola, FL, 32534
               Supervisor's Name: Kyle (LNU)
               Dates of Employment: Approx. June 2024 - Approx. July 2, 2024
               Position: Exhaust Pipe Cleaner
               Rate of Pay: $18.00 per hour
               Reason for Separation: Resignation

           x   Employer Name: Zephyr Towers, LLC
               Address: 3138 Ridgeview Drive, Beatrice, NE 68310
               Supervisor's Name: Ryder Curtis
               Dates of Employment: Approx. September 2024 - Approx. December 2024
               Position: Cell Phone Number Climber
               Rate of Pay: $20.00 per hour
               Reason for Separation: Laid Off

           x   Employer Name: RCCP
               Address: Texas
               Supervisor’s Name: Danielle (LNU)
               Position: Cleaning Technician
               Dates of Employment: Approx. January 19, 2025 - Present
               Rate of Pay: $13.00 per hour
               Reason for Separation: N/A


INTERROGATORY NO. 6:
Describe in detail every attempt, either formally or informally, by you to find either full-time or
part-time employment subsequent to your employment with Defendant, providing for each such
employer that you made application, the name, address and phone number, the date on which you
applied to each such employer, and the result of each such application.

       RESPONSE: After the unlawful termination of his employment with Defendant,
       Plaintiff mitigated his damages by diligently seeking and securing new employment
       opportunities. For additional information regarding Plaintiff’s mitigation efforts,
       Plaintiff directs Defendant to the documents produced by Plaintiff in response to
       Request No. 6 of Defendant’s First Requests for Production.


INTERROGATORY NO. 7:
Please identify specifically every source of income of any description received by you or accruing
to you since your employment with Defendant began through present (including, but not limited


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to, wages or other compensation, unemployment compensation, workers’ compensation, social
security or other similar payments, benefits or disability benefits), and with respect to each such
source of income, state the total amount you received or to which you became entitled and the
inclusive dates on which you received the stated income.

       RESPONSE: Plaintiff objects to this interrogatory on the grounds that it is unduly
       burdensome and overbroad in seeking Plaintiff’s income information unrelated to
       Plaintiff’s mitigation efforts. Plaintiff further objects to this interrogatory on the
       grounds that it is not proportional to the needs of the case, and seeks information that
       is not relevant to the claims and defenses of the parties. Additionally, Plaintiff objects
       to this interrogatory on the grounds that it invades Plaintiff’s right to privacy
       protected by the Florida Constitution in requesting information regarding his
       personal and confidential financial records.

       Notwithstanding these objections and without waiving them, Plaintiff understands
       the non-objectionable portion of this interrogatory to seek information regarding
       Plaintiff’s mitigation efforts and income derived from Plaintiff’s employment during
       and subsequent to his employment with Defendant, and in response, directs
       Defendant to the documents produced by Plaintiff in response to Request No. 9 of
       Defendant’s First Requests for Production, for records of Plaintiff’s income.

       Plaintiff reserves the right to amend, supplement, or modify this response, as
       additional investigation and discovery is ongoing.


INTERROGATORY NO. 8:
State whether you have been employed by or contracted to perform services for any person or
entity (other than the Defendant) or self-employed since your employment with Defendant ended,
and with respect to any such employment, identify the name, address and phone number of each
employer (if self-employed, also provide the nature of the business and each person/entity for
whom you have provided services); the dates of your employment; the positions held; the hourly
or weekly rate of pay you received and the date and amount of any increase in that rate; the total
amount of wages/commissions earned from each such employer or self-employment through the
date of your response; the employee benefits available to you (at your cost or otherwise) for each
such employer; the reason for the termination or conclusion of any such employment; and identify
any documents upon which you relied in answering or which relate to this Interrogatory.

       RESPONSE: Plaintiff has been employed by various entities, other than Defendant,
       since Defendant’s unlawful termination of his employment, and he directs Defendant
       to his response to Interrogatory No. 5 and to the documents produced by Plaintiff in
       response to Request No. 7 of Defendant’s First Requests for Production, for
       additional responsive information.




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INTERROGATORY NO. 9:

State whether you received any medical treatment or medical care, including any psychiatric or
psychological treatment or counseling, because of the incidents which are the subject of this
litigation. If the answer is in the affirmative, describe in detail the nature of such care and treatment
received; the name and address of any hospital, clinic, or other institutions to which you were
admitted for such care and treatment, and the dates of treatment; the name, telephone number and
address of any doctor or healthcare professional by whom you were examined or treated; and the
diagnosis and prognosis rendered by any such doctor or healthcare professional as a result of any
such examination or treatment.

        RESPONSE: Plaintiff has received no medical treatment or medical care, including
        any psychiatric or psychological treatment or counseling, because of the incidents
        which are the subject of this litigation.


INTERROGATORY NO. 10:
Please list the names, business addresses and telephone numbers of all medical doctors by whom,
and all hospitals at which, you have been examined and/or treated in the past ten (10) years, along
with the condition(s) for which you were treated and dates of treatment. Please also indicate any
treatment that was provided as a result of any accident or injury caused by a third party, providing
circumstances for each injury.

        RESPONSE: Plaintiff objects to this interrogatory on the grounds that it is
        overbroad, unduly invasive, and violates his right to privacy in requesting his
        privileged and confidential medical records to the extent it requests information
        concerning Plaintiff’s medical treatment unrelated to his employment with
        Defendant, his claims against the Defendant, or his emotional distress damages.


INTERROGATORY NO. 11:
State whether you or any attorney or representative on your behalf has spoken with any person
concerning the facts of this case or the matters alleged in your pleadings, including whether a
written statement, report, memoranda or recording was made or obtained. If your answer is in the
affirmative, separately identify each individual, along with the author of each such statement,
report, memorandum or recording; the person or persons to whom the statement, report,
memorandum or recording was issued, distributed or otherwise provided; the present location and
custodian of each such statement, report, memorandum or recording; and state the date each such
statement, report, memorandum or recording was prepared.

        RESPONSE: Plaintiff objects to this interrogatory on the grounds that it is unduly
        burdensome, overbroad, and not properly limited in time and scope, as this
        interrogatory could be reasonably interpreted, for example, to include information
        regarding communications with any individual who was simply aware of the fact of
        Plaintiff’s employment with the Defendant.




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       Notwithstanding these objections and without waiving them, Plaintiff states that
       Plaintiff’s attorney spoke with Dezmond Jones on Plaintiff’s behalf concerning the
       facts of this case or the matters alleged in the Plaintiff’s pleadings. Mr. Jones provided
       a written statement, dated November 25, 2024, to Derek Smith Law Group, PLLC,
       custodian of the statement and in whose office located at 520 Brickell Key Drive, Suite
       O-301, Miami, FL 33131, the statement is electronically stored. Plaintiff directs
       Defendant to a true and correct copy of Mr. Jones’ statement produced by Plaintiff
       in response to Request No. 10 of Defendant’s First Request for Production.

       In addition, Plaintiff spoke with Eladrienne Jackson and Iran Hawkins concerning
       the facts of this case or the matters alleged in his pleadings. To the best of Plaintiff’s
       knowledge and belief, no written statement has been made by or obtained by Plaintiff
       or Plaintiff’s counsel from Eladrienne Jackson or Iran Hawkins concerning the facts
       of this case or the matters alleged in the Plaintiff’s pleadings.


INTERROGATORY NO. 12:
Identify each person who has contacted you or any attorney or representative of yours concerning
this action or its subject matter, or who has been contacted by you, or any attorney or representative
of yours, concerning this action or its subject matter.

       RESPONSE: Plaintiff objects to this interrogatory on the grounds that it is not
       properly limited in time and scope. Notwithstanding this objection and without
       waiving it, Plaintiff identifies Dezmond Jones.


INTERROGATORY NO. 13:
Separately identify each and every person who is known or believed by you to have witnessed the
events and/or have other direct knowledge of any facts or material upon which you base the
allegations contained in your Complaint, and for each such person, summarize the nature and
substance of their knowledge, including a summary of the information and/or events to which you
believe each person has firsthand knowledge or witnessed firsthand.

       RESPONSE: Plaintiff has identified individuals believed to have witnessed the events
       and/or have other direct knowledge of any facts or material upon which Plaintiff has
       based the allegations contained in his Complaint:

           x   Nicholas Ford, Plaintiff

               Mr. Ford has knowledge regarding Plaintiffs’ employment with Defendant;
               the claims and allegations made in the Complaint and throughout the agency
               proceeding; and the emotional toll the Defendant’s discriminatory treatment
               took on Mr. Ford during and after his employment.




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      x   Alonzo Hawkins, Plaintiff

          Mr. Hawkins has knowledge regarding Plaintiffs’ employment with
          Defendant; the claims and allegations made in the Complaint and throughout
          the agency proceeding; and the emotional toll the Defendant’s discriminatory
          treatment took on Mr. Ford during and after his employment.

      x   Corporate Representative of Southern Road & Bridge, LLC, Defendant

          Defendant Southern Road & Bridge, LLC’s Corporate Representative likely
          has knowledge regarding Plaintiffs’ employment, Plaintiffs’ claims alleged in
          the Complaint, and treatment of similarly situated employees.

      x   Ryan Witt

          Ryan Witt likely has knowledge regarding Plaintiffs’ employment, Plain-tiffs’
          claims alleged in the Complaint, and treatment of similarly situated
          employees.

      x   George Pappas

          George Pappas likely has knowledge regarding Plaintiffs’ employment,
          Plaintiffs’ claims alleged in the Complaint, and treatment of similarly situated
          employees.

      x   Isaac Ruiz a/k/a Esequiel Ruiz

          Isaac Ruiz a/k/a Esequiel Ruiz likely has knowledge regarding Plaintiffs’
          employment, Plaintiffs’ claims alleged in the Complaint, and treatment of
          similarly situated employees.

      x   Fidencio Rayos

          Fidencio Rayos likely has knowledge regarding Plaintiffs’ employment,
          Plaintiffs’ claims alleged in the Complaint, and treatment of similarly situated
          employees.

      x   Jose (LNU) a/k/a Joe Joe

          Jose (LNU) likely has knowledge regarding Plaintiffs’ employment, Plaintiffs’
          claims alleged in the Complaint, and treatment of similarly situated
          employees.




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       x   Carlos Valadez

           Carlos Valadez likely has knowledge regarding Plaintiffs’ employment,
           Plaintiffs’ claims alleged in the Complaint, and treatment of similarly situated
           employees.

       x   Alfredo Baguer-Villa

           Alfredo Baguer-Villa likely has knowledge regarding Plaintiffs’ employment,
           Plaintiffs’ claims alleged in the Complaint, and treatment of similarly situated
           employees.

       x   Joaquin (LNU)

           Joaquin (LNU) likely has knowledge regarding Plaintiffs’ employment,
           Plaintiffs’ claims alleged in the Complaint, and treatment of similarly situated
           employees.

       x   Dezmond Jones

           Dezmond Jones likely has knowledge regarding Plaintiffs’ employment,
           Plaintiffs’ claims alleged in the Complaint, Defendant’s discriminatory
           treatment of Plaintiffs and/or other Black employees, the discriminatory work
           conditions under which Plaintiffs labored, Defendant’s safety violations, and
           treatment of similarly situated employees.

       x   Cadden Coats

           Cadden Coats likely has knowledge regarding Plaintiffs’ employment,
           Plaintiffs’ claims alleged in the Complaint, Defendant’s discriminatory
           treatment of Plaintiffs and/or other Black employees, the discriminatory work
           conditions under which Plaintiffs labored, Defendant’s safety violations, and
           treatment of similarly situated employees.

       x   Lonnie Vickery

           Lonnie Vickery likely has knowledge regarding Plaintiffs’ employment,
           Defendant’s discriminatory treatment of Plaintiffs and/or other Black
           employees, the discriminatory work conditions under which Plaintiffs labored,
           and Defendant’s safety violations.

       x   Mario Ramirez

           Mario Ramirez likely has knowledge regarding Plaintiffs’ employment,
           Defendant’s discriminatory treatment of Plaintiffs and/or other Black



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               employees, the discriminatory work conditions under which Plaintiffs labored,
               and Defendant’s safety violations.

           x   Eladrienne Jackson

               Eladrienne Jackson likely has knowledge regarding Plaintiff Ford’s
               employment, the claims alleged in the Complaint, Plaintiff Ford’s emotional
               distress and damages incurred.


INTERROGATORY NO. 14:
Itemize and identify each item of expense or damage that you claim to have incurred or suffered
as a result of the incidents described in the Complaint, specifying separately the nature of the
damage(s), the amount of the damage, the factual bases and method that you used in computing
your damages, the amounts of each category of damages sought (e.g., emotional distress, mental
pain and suffering, back pay, or other damages alleged in your Complaint).

       RESPONSE: Plaintiff objects to this interrogatory on the grounds that it is vague and
       ambiguous in requesting information regarding “each item of expense or damage”
       claimed by Plaintiff. Plaintiff further objects to interrogatory on the grounds that it
       improperly requests the “method you used in computing your damages,” as damages
       are a question to be determined by a jury. Notwithstanding and without waiving these
       objections, Plaintiff understands the non-objectionable portion of this interrogatory
       to seek the nature and amount of Plaintiff’s claimed damages. In response, Plaintiff
       states as follows:

           1. Lost Wages: At the time of his unlawful termination on or around November
              3, 2023, Plaintiff worked 40 regular hours per week at a rate of pay of $24.00
              per hour and 20 overtime hours per week at a rate of pay of $36.00 per hour.
              Plaintiff estimates he is owed approximately $264.97 in regular pay for every
              week he worked ($264.97 x 36 weeks = $9,538.92) and approximately $590.71
              in overtime pay for every week he worked ($590.71 x 36 weeks = $21,265.56).

               Despite his best and continued efforts, Plaintiff was unable to secure
               permanent employment, following the termination of his employment with
               Defendant, until he began working for VII Restaurant on or around February
               11, 2024. Plaintiff is seeking lost wages for this approximately 14-week period
               of unemployment. Plaintiff estimates this amount to be approximately
               $23,520.00. This amount is calculated as follows: [$960 regular pay per week
               + $720 overtime pay per week] x 14 weeks.

               Between approximately February 11, 2024 and approximately March 1, 2024,
               Plaintiff was employed by VII Restaurant at a rate of pay of $15.00 per hour.
               Plaintiff seeks lost wages for the difference in income between his employment
               with VII Restaurant, and the income he would have generated from his
               employment with Defendant but for his unlawful termination. Plaintiff



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          worked for VII Restaurant an approximate average of 25 hours per week at a
          rate of pay of $15.00 per hour. He earned approximately $9.00 less per hour in
          his role with VII Restaurant than in his role with Defendant, resulting in a loss
          of approximately $675.00 during his employment with VII Restaurant. This
          amount is calculated as follows: $9.00 per hour x 25 hours x 3 weeks.

          Despite his best and continued efforts, Plaintiff did not regain employment
          until April of 2024. Plaintiff is seeking lost wages for this approximately four
          (4) week period of unemployment. Plaintiff estimates this amount to be
          approximately $6,720.00. This amount is calculated as follows: [$960 regular
          pay per week + $720 overtime pay per week] x 4 weeks.

          Between approximately April 2024 and approximately May 2024, Plaintiff was
          employed by First Choice Landscaping at a rate of pay of $18.00 per hour.
          Plaintiff seeks lost wages for the difference in income between his employment
          with First Choice Landscaping, and the income he would have generated from
          his employment with Defendant but for his unlawful termination. Plaintiff
          worked for First Choice Landscaping an approximate average of 40 hours per
          week at a rate of pay of $18.00 per hour. He earned approximately $6.00 less
          per hour in his role with First Choice Landscaping than in his role with
          Defendant, resulting in a loss of approximately $1,920.00 during his
          employment with First Choice Landscaping. This amount is calculated as
          follows: $6.00 per hour x 40 hours x 8 weeks.

          Despite his best and continued efforts, Plaintiff did not regain employment
          until June of 2024. Plaintiff is seeking lost wages for this approximately four
          (4) week period of unemployment. Plaintiff estimates this amount to be
          approximately $5,040.00. This amount is calculated as follows: [$960 regular
          pay per week + $720 overtime pay per week] x 3 weeks.

          Between approximately June 2024 and approximately July 2, 2024, Plaintiff
          was employed by Hoodz at a rate of pay of $18.00 per hour. Plaintiff seeks lost
          wages for the difference in income between his employment with Hoodz, and
          the income he would have generated from his employment with Defendant but
          for his unlawful termination. Plaintiff worked for Hoodz an approximate
          average of 40 hours per week at a rate of pay of $18.00 per hour. He earned
          approximately $6.00 less per hour in his role with Hoodz than in his role with
          Defendant, resulting in a loss of approximately $960.00 during his employment
          with Hoodz. This amount is calculated as follows: $6.00 per hour x 40 hours x
          4 weeks.

          Despite his best and continued efforts, Plaintiff did not regain employment
          until September of 2024. Plaintiff is seeking lost wages for this approximately
          eight (8) week period of unemployment. Plaintiff estimates this amount to be
          approximately $13,440.00. This amount is calculated as follows: [$960 regular
          pay per week + $720 overtime pay per week] x 8 weeks.



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          Between approximately September 2024 and approximately December 2024,
          Plaintiff was employed by Zephyr Towers, LLC at a rate of pay of $20.00 per
          hour. Plaintiff seeks lost wages for the difference in income between his
          employment with Zephyr Towers, LLC, and the income he would have
          generated from his employment with Defendant but for his unlawful
          termination. Plaintiff worked for Zephyr Towers, LLC an approximate
          average of 40 hours per week at a rate of pay of $20.00 per hour. He earned
          approximately $4.00 less per hour in his role with Zephyr Towers, LLC than
          in his role with Defendant, resulting in a loss of approximately $2,720.00
          during his employment with Zephyr Towers, LLC. This amount is calculated
          as follows: $4.00 per hour x 40 hours x 17 weeks.

          Despite his best and continued efforts, Plaintiff did not regain employment
          until approximately January 19, 2025. Plaintiff is seeking lost wages for this
          approximately four (4) week period of unemployment. Plaintiff estimates this
          amount to be approximately $6,720.00. This amount is calculated as follows:
          [$960 regular pay per week + $720 overtime pay per week] x 4 weeks.

          As of approximately January 19, 2025, Plaintiff has been employed by RCCP
          at a rate of pay of $13.00 per hour. Plaintiff seeks lost wages for the difference
          in income between his employment with RCCP and the income he would have
          generated from his employment with Defendant but for his unlawful
          termination. Plaintiff works for RCCP an approximate average of 40 hours
          per week at a rate of pay of $13.00 per hour. He earns approximately $11.00
          less per hour in his role with RCCP than in his role with Defendant, resulting
          in a loss of approximately $1,760.00, to date, during his employment with
          RCCP. This amount is calculated as follows: $11.00 per hour x 40 hours x 4
          weeks.

          To date, Plaintiff’s total lost wages equal approximately $94,279.48. Plaintiff
          reserves the right to seek lost wages up until the date of trial. Plaintiff also
          reserves the right to seek reinstatement and/or front pay, as well as any other
          equitable remedy available.

       2. Liquidated Damages: Plaintiff claims liquidated damages in an amount equal
          to his economic losses on account of Defendant’s willful conduct.

       3. Emotional Distress Damages: Plaintiff claims emotional distress damages in
          the amount of $2,000,000.00. This amount reflects damages that a jury might
          award based on the severe emotional distress Plaintiff has suffered as a result
          of the Defendant’s conduct.

       4. Punitive Damages: Plaintiff claims punitive damages in the amount of
          $4,000,000.00. This amount reflects damages that a jury might award based
          on the Plaintiff’s experiences and the Defendant’s willful conduct.



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           5. Attorney’s Fees: Plaintiff will also seek attorney’s fees as a prevailing party.

       Plaintiff reserves the right to supplement/amend this response as more information
       becomes available and as may be appropriate and necessary.


INTERROGATORY NO. 15:
State whether you have ever been a party to or testified under oath in any legal proceeding,
including, but not limited to, a civil lawsuit, administrative proceeding, divorce, bankruptcy,
criminal proceeding, arbitration, trial, or deposition. If the answer is in the affirmative, separately
state in detail the caption, court and docket number in the action; the name, telephone number and
address of the parties in any such proceedings; the location in which the action was venued or
conducted; the name, telephone number and address of all attorneys representing the parties in any
such legal proceedings; whether you gave testimony under oath (deposition, trial testimony,
hearing testimony, affidavit) and the general subject matter and outcome of any such legal
proceeding.

       RESPONSE: Plaintiff objects to this interrogatory on the grounds it is overbroad and
       not properly limited in time and scope in requesting Plaintiff identify the legal
       proceedings to which he has been a party or in which he has testified under oath,
       without limitations on time frame or subject matter. Plaintiff further objects to this
       interrogatory on the grounds that it seeks multiple categories of information not
       relevant to the claims or defenses of the parties. Notwithstanding these objections and
       without waiving them, Plaintiff has limited his response to the identification of the
       legal proceedings, if any, dating from February 2023 to which he has been a party or
       in which he has testified under oath. In response, Plaintiff states that, besides the
       instant lawsuit and the related Charge of Discrimination identified by EEOC Charge
       No. 511-2024-01203, Plaintiff has not been a party to or testified in any legal
       proceeding as of February 2023.


INTERROGATORY NO. 16:
Other than the present case, please identify any and all charges, lawsuits, administrative claims,
internal investigations, claims, or allegations regarding discrimination, harassment, retaliation,
wrongful termination, unemployment compensation, unfair employment practices, unpaid wages,
and/or unlawful employment practices against any employer or former employer in which you
have been involved (either as the complainant or a witness), providing for each instance, the name
of the employer, the substance of the allegations made, the date of each claim, the State, County,
and case number of any litigation or charge, if applicable, along with the disposition of same.

       RESPONSE: None.




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INTERROGATORY NO. 17:
State whether you have ever been arrested, charged with or convicted of a crime. If so, state the
nature of the alleged crime, the jurisdiction in which you were arrested, charged and/or convicted,
the date of the arrest, charge and/or conviction, and the outcome of the case.

       RESPONSE: Plaintiff objects to this interrogatory on the grounds it is overbroad and
       not properly limited in time and scope. Notwithstanding these objections and without
       waiving them, Plaintiff has limited his response to the identification of arrests,
       charges, and convictions, if any, dating from February 2023 to the present, that have
       involved the Plaintiff. In response, Plaintiff states that he has not been arrested,
       charged with, or convicted of a crime as of February 2023.


INTERROGATORY NO. 18:
Identify any social worker, counselor, priest, minister, preacher, or other person with whom
Plaintiff has sought and/or is currently seeking treatment for emotional distress, mental pain and
suffering, or mental anguish in the past ten (10) years.

       RESPONSE: Plaintiff objects to this interrogatory on the grounds it is overbroad and
       not properly limited in time and scope. Notwithstanding this objection and without
       waiving it, Plaintiff understands the non-objectionable portion of this request to seek
       the identification of any social worker, counselor, priest, minister, preacher, or other
       person with whom Plaintiff has sought and/or is currently seeking treatment for
       emotional distress, mental pain and suffering, or mental anguish in the past five (5)
       years. In response, Plaintiff states none.


INTERROGATORY NO. 19:
If you have been temporarily or permanently unable to work due to a health condition at any time
within the past year, identify the date(s), the health condition(s), and any healthcare treatment
sought in connection with the condition, including the name(s) of the healthcare provider and the
dates of treatment.

       RESPONSE: Plaintiff has not been temporarily or permanently unable to work due
       to a health condition at any time within the past year.


INTERROGATORY NO. 20:
Have you ever posted or responded to any website, web page, blog, chat board, chat room, Social
Site, Social Network Site, or similar computer-based service in a manner that relates to, or
otherwise references, (1) Defendant, (2) your employment with Defendant, (3) the allegations set
forth in your Complaint in this litigation, or (4) any employee or former employee of Defendant?
If so, please provide the name of the computer-based service; the URL or web address for the
computer-based service; the date(s) you posted or responded; and a detailed description of the
nature of each posting or response.




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       RESPONSE: Plaintiff objects to this interrogatory as any interrogatories related to
       his publications on a website, web page, blog, chat board, chat room, Social Site,
       Social Network Site, or similar computer-based service bear no relevance to the
       claims or defenses of the parties, are unduly invasive and harassing, and not
       proportional to the needs of the case. Plaintiff further objects to this interrogatory on
       the grounds that it is vague and ambiguous in its use of the terms “chat board,”
       “Social Site,” and “Social Network Site,” as it is unclear what platforms or websites
       are included within these terms.


INTERROGATORY NO. 21:
Identify separately all documents to which you referred, reviewed or relied upon in answering or
that in any way assisted you in answering, any of these Interrogatories.

       RESPONSE: Plaintiff identifies the certifications produced by Plaintiff in response
       to the Unnumbered Request immediately following Request No. 17 of Defendant’s
       First Requests for Production.




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                                        VERIFICATION
       Pursuant to 28 U.S.C. § 1746, I, NICHOLAS FORD, declare under penalty of perjury that

the foregoing answers to Defendant’s First Set of Interrogatories to Plaintiff Nicholas Ford are true

and correct to the best of my knowledge and belief.



                 02 / 17 / 2025
Executed on ____________________.


                                                      __________________________________
                                                      NICHOLAS FORD




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing document is being

served on February 17, 2025, on all counsel of record on the service list below via electronic mail.


                                                             /s/ Daniel J. Barroukh
                                                             Daniel J. Barroukh, Esq.



                                         SERVICE LIST

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Counsel for Defendant




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